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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 ZACHARIAH MILLS,                                  :
                                                   :
             Plaintiff,                            :
                                                   :
 v.                                                :   Case No. 1:22-cv-1001-CKK
                                                   :
 AMERICAN UNIVERSITY, et al.                       :
                                                   :
             Defendants.                           :

       DEFENDANTS’ JOINT MOTION TO EXTEND TIME TO FILE A REPLY TO
      PLAINTIFF’S OPPOSITIONS TO DEFENDANTS’ JOINT MOTION TO DISMISS

        Defendants, through counsel, jointly request a one-week extension to file a Reply to

Plaintiff’s Oppositions to Defendants’ Joint Motion to Dismiss and for reasons state as follows:

        1.        Defendants filed a Joint Motion to Dismiss on September 7, 2022 (DE #16).

        2.        By Order dated September 8, 2022, the Court ordered Plaintiff to respond to

Defendants’ Motion to Dismiss by no later than September 23, 2022, and for Defendants to file

their Reply by October 3, 2022 (DE #19). Defendants did not receive an opposition on September

23, 2022.       Undersigned counsel understand that Plaintiff’s “Preliminary Opposition to the

Defendants’ Joint Motion to Dismiss” (DE #20) was emailed to the Clerk’s Office on September

23, 2022, stamped as received on that date, and then sent to defense counsel by ECF on the

afternoon of September 26, 2022.

        3.        On September 26, 2022, Plaintiff also filed a 64-page document titled “Plaintiff’s

Opposition to the Defendants’ Joint Motion to Dismiss” (DE #21).

        4.        Lead counsel for four Defendants, Laurel Malson, has been out of the country since

before September 26, 2022. She will return on October 5, 2022.




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       5.       Based on the multiple issues raised in Plaintiff’s Preliminary and Final Oppositions

to Defendants’ Motions to Dismiss, which need to be fully investigated, and based on Ms. Malson

being out of the country until October 5th, Defendants respectfully request that the Court grant

Defendants an extension of one week to reply to Plaintiff’s Preliminary and Final Oppositions.

       6.       A one-week extension would mean the Reply is due on October 10, 2022, but as

that is a court holiday, it is requested that Defendants be permitted to file a Reply on or before

October 11, 2022.

       7.       This request is not interposed for purposes of delay but rather for good cause and

to assist in the orderly administration of this case. Undersigned counsel, Paul J. Maloney, emailed

Mr. Mills on September 29, 2022 to see if he would consent to the relief sought herein. As of the

filing of this Motion, no response has been received.

                                              Respectfully submitted,

/s/Laurel Pyke Malson (w/permission)          /s/Paul J. Maloney
Laurel Pyke Malson, #317766                   Paul J. Maloney, DC Bar #362533
Crowell & Moring LLP                          Brian M. O’Shea, DC Bar #1600057
1001 Pennsylvania Avenue, NW                  Carr Maloney P.C.
Washington, D.C. 20004                        2000 Pennsylvania Avenue, NW, Suite 8001
(202) 624-2576 (Telephone)                    Washington, D.C. 20006
(202) 628-5116 (Facsimile)                    (202) 310-5500 (Telephone)
lmalson@crowell.com                           (202) 310-5555 (Facsimile)
Attorney for Defendants,                      paul.maloney@carrmaloney.com
Eleni Ekmektsioglou, Luciana                  brian.o’shea@carrmaloney.com
Storelli-Castro, Manaswini Ramkumar,          Attorneys for Defendants American
and Marcelline T. Babicz                      University, Daniel Esser, Sharon Weiner, Boaz
                                              Atzili, Christine Chin, Carolyn Gallaher, Jaris
                                              Williams, Mary Clark, Traci Callandrillo, Fanta
                                              Aw, Carol Crawford, Jeffrey Brown




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                              POINTS AND AUTHORITIES

      Rule 7(b) and L.Civ. R. 7(a)(m) and the record herein.

                                   /s/Paul J. Maloney
                                   Paul J. Maloney


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing Motion for Extension of Time was
electronically filed and served this 29th day of September, 2022 upon, and e-mailed to:

                            Zachariah Mills
                            315 Barnette St., #72358
                            Fairbanks, Alaska 99707
                            Pro Se Plaintiff

                            Laurel Pyke Malson #317776
                            Crowell & Moring LLP
                            1001 Pennsylvania Avenue, NW
                            Washington, DC 20004-2595
                            202-624-2500 (Telephone)
                            202-628-5116 (Facsimile)
                            lmalson@crowell.com
                            eberns-zieve@crowell.com
                            Attorneys for Defendants Eleni Ekmektsioglou,
                            Luciana Storelli-Castro, Manaswini Ramkumar,
                            and Marcelline T. Babicz


                                                  /s/Paul J. Maloney
                                                  Paul J. Maloney




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